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 Exhibit B
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                                    DECLARACION DE ANDRES ANTILLANO,
                    PROFESOR ASISTENTE Y JEFE DE CATEDRA DE CRIMINOLOGIA,
                             UNIVERSIDAD CENTRAL DE VENEZUELA


                    Yo, Andrés Antillano, declaro lo siguiente de conformidad con 28 U.S.C. § 1746, and

            declaro bajo pena de perjurio que lo siguiente es verdadero y correcto según mi leal saber y

            entender:

            Calificaciones:
                    1.      Soy psicólogo social con posgrado en Criminología de la Universidad de

            Barcelona. Nací y vivo en Caracas, Venezuela.

                    2.      Actualmente, soy profesor asistente de la Universidad Central de Venezuela en

            la Facultad de Derecho y Ciencias Políticas. También soy Jefe de Cátedra de Criminología en

            la Escuela de Derecho de la UCV. He trabajado como profesor desde 2002.

                    3.      Enseño diversos cursos que tienen que ver con temas de pandillas,

            encarcelamiento y criminología en Venezuela. También he impartido un seminario destinado

            a gerentes y oficiales superiores del Consejo General de Policía, Policía Nacional Bolivariana

            y Universidad Nacional de la Seguridad.

                    4.      Al mismo tiempo, también trabajo como investigador del Instituto de Ciencias

            Penales y Jefe de la Sección de Criminología, y soy coordinador del Grupo de Trabajo de

            Fuerzas de Seguridad, Agencias de Control y Mercados Ilegales del Consejo Latinoamericano

            de Ciencias Sociales.

                    5.      He recibido financiación de numerosas fuentes, entre ellas Colectivo de

            Estudios Drogas y Derecho del Washington Office on Latin America, Corporación Andina de

            Fomento, Fundación Rosa de Luxemburgo-Región Andina, Fundación Paz y Reconciliación

            Proyecto.




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                    6.      He publicado más de 50 artículos y capítulos de libros sobre sobre pandillas,

            crimen organizado, migración y prisiones, incluso en la Revista Venezolana de Economía y

            Ciencias Sociales y Political Geography. Mi libro más reciente, titulado Carceral

            Communities in Latin America, recoge investigaciones sobre pandillas carcelarias y gobiernos

            criminales en distintos países de América Latina.

                    7.      La mayor parte de mi trabajo ha sido en Venezuela. Pero también me desempeñé

            como investigador invitado en Rice University, profesor invitado o presentador para seminarios

            y conferencias en Harvard University, New York University, Pomona College, and Tulane

            University.

                    8.      He leído la Proclamación y la Declaración de Cerna (ECF No. 26) presentadas

            en este caso. Proporciono esta declaración basada en mis conocimientos personales y

            profesionales, y mi revisión de estos documentos.

                    9.      Mis opiniones de derivan de más de una década de estudios que he realizado

            sobre pandillas, crimen organizado, migración y prisiones. He realizado más de 100 entrevistas

            con miembros de pandillas en Venezuela, con informantes claves sobre dinámicas de pandillas

            y con miembros con el régimen de Maduro, así como trabajo etnográfico en prisiones y en

            zonas bajo control de pandillas tanto en Venezuela como en países vecinos. Con base en mi

            experiencia, se me ha pedido que evalúe la descripción que el gobierno hace del Tren de Aragua

            y cómo identifica a sus posibles miembros. Mis conclusiones se exponen a continuación.

            Opiniones
                    10.     El Tren de Aragua no es una organización altamente estructurada, centralizada,

            con líneas de mando y membresía claramente definidas. Los niveles mayores de estructuración

            se dieron durante la última década en el estado Aragua, donde las bandas que operaban en

            distintas localidades se coordinaban con la prison gang que controlaba el penal de Tocorón.




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                    11.     Sin embargo, en septiembre de 2023 este penal es intervenido por fuerzas

            militares venezolanas. Desde ese momento, el papel de coordinación de este grupo parece

            haberse debilitado, en la medida en que deben preocuparse por su sobrevivencia frente a la

            persecución y golpes de los cuerpos de seguridad de toda la región y han perdido uno de sus

            instrumentos principales para coordinar e imponer acciones, la prisión, por lo que los grupos

            locales actúan con aún mayor autonomía e independencia.

                    12.     No hay evidencia de que el Tren tenga una gran presencia en los EEUU.

                    13.     Como mencioné, actualmente el Tren es un grupo descentralizado y

            descoordinado. No hay evidencia de que el Tren mantenga conexiones estables con el estado

            venezolano ni de que el régimen de Maduro dirija sus acciones hacia los EEUU.

                    14.     Por las mismas razones señaladas al inicio, el Tren de Aragua nunca ha tenido

            una membresía definida, ni ritos de iniciación o marcas de identidad como tatuaje que

            identifiquen a sus miembros, a diferencia de otras organizaciones como las maras

            centroamericanas o algunas gangs étnicas en EEUU. Los tatuajes son populares entre jóvenes

            venezolanos y no tienen ninguna relación con la pertenencia a alguna organización criminal

            ni subcultura específica. No hay ningún símbolo gráfico que identifique al Tren de Aragua ni

            a sus miembros. Tampoco hay evidencia que el grupo tiene ciertas reglas fijas, una

            constitución o certificados de membresía.

            Ejecutado el 27 de marzo, 2025, en Caracas, Venezuela.




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                                                                                         Andrés Antillano




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                           DECLARATION OF ANDRES ANTILLANO,
             ASSISTANT PROFESSOR AND HEAD OF THE CRIMINOLOGY DEPARTMENT,
                           CENTRAL UNIVERSITY OF VENEZUELA
                    I, Andrés Antillano, declare the following pursuant to 28 U.S.C. § 1746, and declare

            under the penalty of perjury that the following is true and correct to the best of my knowledge

            and belief:

            Qualifications:

                    1.      I am a social psychologist with a postgraduate degree in Criminology from the

            University of Barcelona. I was born and live in Caracas, Venezuela

                    2.      I am currently an assistant professor at the Central University of Venezuela in

            the Department of Law and Political Science. I am also the Head of the Criminology

            Department at the UCV School of Law. I have worked as a professor since 2002.

                    3.      I teach various courses related to gangs, incarceration, and criminology in

            Venezuela. I have also taught a seminar for managers and senior officers of the General

            Police Council, the Bolivarian National Police, and the National University of Security.

                    4.      At the same time, I also work as an investigator at the Institute of Criminal

            Sciences and Head of the Criminology Section, and I am the coordinator of the Working

            Group on Security Forces, Control Agencies, and Illegal Markets of the Latin American

            Council of Social Sciences.

                    5.      I have received funding from numerous sources, including the Washington

            Office on Latin America Drug and Law Studies Collective, the Development Bank of Latin

            America, the Rosa Luxemburg Foundation-Andean Region, and the Peace and Reconciliation

            Project Foundation.

                    6.      I have published more than 50 articles and book chapters on gangs, organized

            crime, migration, and prisons, including in the Venezuelan Journal of Economics and Social

            Sciences and Political Geography. My most recent book, titled Carceral Communities in



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            Latin America, compiles research on prison gangs and criminal governments in various Latin

            American countries.

                    7.      Most of my work has been in Venezuela. However, I have also served as a

            visiting researcher at Rice University, and as a visiting professor and presenter for seminars

            and conferences at Harvard University, New York University, Pomona College, and Tulane

            University.

                    8.      I have read the Proclamation and the Cerna Declaration (ECF No. 26)

            presented in this case. I provide this statement based on my personal and professional

            knowledge and my review of these documents.

                    9.      My opinions derive from more than a decade of research I have conducted on

            gangs, organized crime, migration, and prisons. I have conducted over 100 interviews with

            gang members in Venezuela, with key informants on gang dynamics, and with members

            within the Maduro regime, as well as ethnographic work in prisons and gang-controlled areas

            both in Venezuela and neighboring countries. Based on my experience, I have been asked to

            evaluate the government’s description of Tren de Aragua and how it identifies potential

            members. My findings are presented below.

            Opinions

                    10.     Tren de Aragua is not a highly structured, centralized organization with clearly

            defined lines of command and membership. The greatest levels of structuring have arisen

            during the last decade in the state of Aragua, where gangs operating in different locations

            coordinated with the prison gang that controlled the Tocorón prison.

                    11.     However, in September 2023, this prison was taken over by Venezuelan

            military forces. Since then, the group’s coordinating role appears to have weakened, as they

            must worry about their survival in the face of persecution and attacks from security forces

            throughout the region and they have lost one of their main instruments for coordinating and


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            enforcing actions, the prison, for this reason the local groups operate with even greater

            autonomy and independence.

                    12.     There is no evidence that Tren [de Aragua] has a significant presence in the

            US.

                    13.     As I mentioned, Tren [de Aragua] is currently a decentralized and

            uncoordinated group. There is no evidence that the Tren maintains stable connections with

            the Venezuelan state or that the Maduro regime directs its actions toward the United States.

                    14.     For the same reasons noted at the beginning, Tren de Aragua has never had a

            defined membership, nor initiation rites or identity marks such as tattoos that identify its

            members, unlike other organizations such as Central American gangs or some ethnic gangs in

            the United States. Tattoos are popular among young Venezuelans and have no connection to

            belonging to a specific criminal organization or subculture. There is no graphic symbol that

            identifies Tren de Aragua or its members. There is also no evidence that the group has certain

            fixed rules, a constitution, or membership certificates.




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                                         CERTIFICATE OF TRANSLATION

                    I, Talia Roma, certify that I am fluent in both English and Spanish and that I have

            translated the foregoing declaration from Andres Antillano, faithfully and accurately, from

            Spanish into English. I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

            the foregoing is true and correct.




            Dated: March 27, 2025




            _______________________________
            Talia Roma
            Paralegal
            American Civil Liberties Union Foundation
            Immigrants’ Rights Project
            425 California Street, 7th Floor
            San Francisco, CA 94609
            (412) 626-1379
            troma@aclu.org




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